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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


 IN RE:
                                                   Misc. Case No. 20-mc-354
 PETITION TO IMPANEL A
 SPECIAL GRAND JURY

 Petitioner: Leo Burroughs


                                GOVERNMENT’S RESPONSE

       The United States of America, by and through its undersigned attorneys, hereby files this

response to Petitoner Leo Burroughs Petition to Impanel a Special Grand Jury (ECF No. 1).

       In his pro se filing, the Petitioner, an unsuccessful candidate for Baltimore City Council

President in the June 2, 2020, Democratic primary, asks the Court to:

        . . . authorize the impanelng of a Special Grand Jury to investigate the systemic
       policies, patterns, practices, and procedures of alleged misconduct arising ~ from
       the failures of the State of Md. and Baltimore City Boards of Election to fairly
       administer and perform their fiduciary responsibilities to the Electorate.

The Petitioner also asks the Court to:

       … direct the U.S. Attorney for the District of Md., Robert K. Hur to investigate
       the following stipulated allegations of misconduct pursuant to a Special Grand
       Jury rendering a probable cause determination or finding of Civil/Voting Rights
       violations, Gross Negligence, Malfeasance, Non-Feasance, Criminal Acts of
       Voter Suppression, and/or No Bill,

The Petitioner then lists in his filing what he obviously believes are past and present instances of

misdeeds in the conduct of local elections.

       There are already multiple grand juries operating in this district that are capable of

investigating allegations of election crimes. The Petitioner may be unaware of that fact. In any

event, there is no justification to impanel an additional one provided in the Petitioner’s filing and

undersigned counsel believes none exists.
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       The doctrine of separation of powers enriched in the U.S. Constitution makes the second

type of relief the Petitioner seeks, namely that the Court “direct the U.S. Attorney for the District

of Md.” to conduct an investigation, unavailable.

       However, undersigned counsel urges the Petitioner to contact the Federal Bureau of

Investigation at 410-265-8080 if he believes he has been the victim of a crime or has information

related to the commission of any crime.



                                              Respectfully submitted.

                                              Robert K. Hur
                                              United States Attorney

                                              /s/ Leo J. Wise_________________
                                              Leo J. Wise
                                              Assistant United States Attorney



                                 CERTIFICATE OF SERVICE
I HEREBY CERTIFY that copies of the foregoing was sent by first class U.S. mail to the
Petitioner.
                                              /s/ Leo J. Wise_________________
                                              Leo J. Wise
                                              Assistant United States Attorney




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